           Case 1:23-cr-00016-JEB Document 61-1 Filed 11/14/23 Page 1 of 1




                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA

         v.                                         Case No. 23-cr-16 (JEB)

FRANK ROCCO GIUSTINO,
               Defendant.

                                           ORDER

        Based upon the representations in the Motion to Continue, and upon consideration of the

entire record, it is hereby

        ORDERED that the Motion is GRANTED; it is further

        ORDERED that the currently scheduled sentencing on November 21, 2023 at 3 pm be

continued for good cause until ___________________, 2023 at _________.




                                           THE HONORABLE JAMES E. BOASBERG
                                           CHIEF UNITED STATES DISTRICT JUDGE
